           Case 3:22-cv-00026-TCB Document 1 Filed 02/14/22 Page 1 of 15




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           NEWNAN DIVISION

RONALD MCLEOD,                           )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )
                                         )
COSTCO WHOLESALE                         ) Case No. __________
CORPORATION, et al.,                     )
                                         )
      Defendants.                        )
                                         )
                                         )

           DEFENDANT COSTCO WHOLESALE CORPORATION’S
                       NOTICE OF REMOVAL

      Defendant COSTCO WHOLESALE CORPORATION, by its attorneys and

pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, hereby files this Notice of

Removal of Case No. SUV2021001511 pending in the Superior Court of Coweta

County, State of Georgia. In support of this Notice of Removal, Costco states the

following:

                                 BACKGROUND

      1.       On December 15, 2021, Plaintiff Ronald McLeod filed a Complaint in

the Superior Court of Coweta County, State of Georgia, captioned Ronald McLeod

v. Costco Wholesale Corporation and John Does 1-10, Case No. SUV2021001511
           Case 3:22-cv-00026-TCB Document 1 Filed 02/14/22 Page 2 of 15




(the “State Court Action”). A true and correct copy of this Complaint is attached

hereto as Exhibit A.1

      2.       In the Complaint, Plaintiff asserted claims against Costco and

fictitious John Doe defendants for fraudulent and negligent misrepresentation,

breach of contract, misappropriation and conversion, quantum meruit, and

promissory estoppel. (Compl. ¶¶ 23-79.) Plaintiff also asserted separate causes of

action for punitive damages and attorney’s fees. (Id. ¶¶ 80-86.) Plaintiff’s claims

arise out of an “automated meat ordering system[]” that he allegedly developed

and introduced to Costco. (Id. ¶¶ 5-22.)

      3.       On January 12, 2022, Plaintiff filed an Amended Complaint in the

State Court Action. Costco was served with Summons, a copy of the Amended

Complaint, and a Sherriff’s Entry of Service on January 14, 2022.            These

documents are attached hereto as Exhibit B and constitute “all processes,

pleadings, and orders” served upon Costco in the State Court Action. 28 U.S.C. §

1446(a).



1
 Although Plaintiff did not serve Costco with a copy of the original Complaint,
Costco obtained a copy from the Superior Court of Coweta County’s online
docket. The Court may take judicial notice of this document. See New W. End
Apartments v. Riley, No. 114CV01026WBHLTW, 2014 WL 12861125, at *1
(N.D. Ga. May 23, 2014), report and recommendation adopted, No. 1:14-CV-
1026-WBH, 2014 WL 12861112 (N.D. Ga. June 26, 2014).


                                           2
           Case 3:22-cv-00026-TCB Document 1 Filed 02/14/22 Page 3 of 15




      4.       In the Amended Complaint, Plaintiff purports to add several

individuals as defendants and continues to assert claims against the fictitious John

Doe defendants. Under Georgia law, adding additional parties to an existing

lawsuit requires leave of court. See Sargent v. Dep’t of Hum. Res., 202 Ga. App.

874, 874 (1992) (“In order for an additional party to be added to an existing suit by

amendment pursuant to OCGA § 9–11–15, leave of court must first be sought and

obtained pursuant to OCGA § 9–11–21”). And “an amendment to a complaint

adding a new party without first obtaining leave of the court is without effect.”

Wright v. Safari Club Int'l, Inc., 322 Ga. App. 486, 494 (2013). Plaintiff did not

obtain leave in the State Court Action to add additional defendants.2

                          TIMELINESS OF REMOVAL

      5.       The Notice of Removal is timely because it has been filed within

thirty days of service of the Amended Complaint upon Costco. See 28 U.S.C. §

1446(b).3


2
  All filings in the State Court Action are publicly available on the Superior Court
of Coweta County’s Web Docket, available at
https://sccweb.coweta.ga.us/judgescmwebsearch/login.aspx. The Court can take
judicial notice of state court filings and docket entries. McDowell Bey v. Vega, 588
F. App'x 923, 926 (11th Cir. 2014).
3
 Thirty days after January 14, 2022 is February 13, 2022, which is a Sunday.
Thus, the removal period was extended to February 14, 2022. Fed. R. Civ. P.
6(a)(1)(C).


                                         3
           Case 3:22-cv-00026-TCB Document 1 Filed 02/14/22 Page 4 of 15




                           DIVERSITY JURISDICTION

      6.       This action is removable under 28 U.S.C. § 1441 because it is a civil

action over which the Court has diversity jurisdiction under 28 U.S.C. §

1332(a)(1). The requirements of 28 U.S.C. § 1332(a)(1) have been met because

there is complete diversity of citizenship between Plaintiff and Costco, and the

amount in controversy exceeds $75,000.

   A. Plaintiff Is a Georgia Citizen

      7.       Plaintiff alleges in his Amended Complaint that he “is a citizen and

resident of the State of Georgia at all times relevant to the present action.” (Am.

Compl. ¶ 1.)      Plaintiff made the same allegation in his original Complaint.

(Compl. ¶ 1.) Thus, by Plaintiff’s own admission, he is, and at all times was, a

citizen of Georgia for purposes of diversity jurisdiction.

   B. Costco Is Not a Georgia Citizen

      8.       For diversity purposes, “[a] corporation is a citizen of its state of

incorporation and of the state where it has its principal place of business.

McConico v. Cochran Firm, 581 F. App’x 838 (11th Cir. 2014) (citing 28 U.S.C. §

1332(c)(1)). Costco is, and at the time of the filing of the State Court Action was,

a Washington corporation with its principal place of business in the State of




                                          4
           Case 3:22-cv-00026-TCB Document 1 Filed 02/14/22 Page 5 of 15




Washington as alleged in the Amended Complaint. (Am. Compl. ¶ 2.; see also

Declaration of Brenda Weber [“Weber Dec.”] ¶ 2.)

      9.       In The Hertz Corp. v. Friend, the United States Supreme Court held

that a corporation’s “principal place of business” is its “nerve center”—i.e., “the

place where a corporation’s officers direct, control, and coordinate the

corporation’s activities.” 559 U.S. 77, 92-93 (2010). Generally, a corporation’s

nerve center is “the place where the corporation maintains its headquarters --

provided that the headquarters is the actual center of direction, control, and

coordination.” Id.

      10.      Costco’s “nerve center” is in the State of Washington because

Issaquah, Washington is the site of Costco’s corporate headquarters and executive

offices, where Costco’s high-level officers direct, control, and coordinate Costco’s

activities. (Weber Dec., ¶ 2.) Accordingly, Costco is a citizen of the State of

Washington for diversity purposes.

   C. The Individual Defendants’ Citizenship Is Irrelevant

      11.      The citizenship of the individuals that Plaintiff purported to add to his

Amended Complaint as defendants should not be considered for several reasons.

      12.      First, Georgia courts have repeatedly “held that leave of court is

required whenever an amended complaint adds a new party defendant.” Preferred



                                            5
         Case 3:22-cv-00026-TCB Document 1 Filed 02/14/22 Page 6 of 15




Women's Healthcare, LLC v. Sain, 348 Ga. App. 481, 487 (2019). Any attempt to

unilaterally “add[] . . . new part[ies] without first obtaining leave of the court is

without effect.” Wright, 322 Ga. App. at 494. Plaintiff did not obtain leave of

court to add the individuals named in his Amended Complaint as defendants.

Thus, the citizenship of those individuals is irrelevant to diversity jurisdiction. See

Campbell v. Quixtar, Inc., No. CIV.A. 208CV0044-RWS, 2008 WL 2477448, at

*4 (N.D. Ga. June 16, 2008) (finding plaintiff’s attempt to add non-diverse

defendant to Georgia state court action without leave of court ineffective and

insufficient to defeat diversity jurisdiction).

      13.    Even if Plaintiff’s amendment were effective, the individual

defendants’ citizenship should be disregarded under the fraudulent joinder

doctrine. That doctrine provides that “[w]hen a plaintiff names a non-diverse

defendant solely in order to defeat federal diversity jurisdiction, the district court

must ignore the presence of the non-diverse defendant and deny any motion to

remand the matter back to state court.” Henderson v. Washington Nat. Ins. Co.,

454 F.3d 1278, 1281 (11th Cir. 2006). Joinder of a defendant is fraudulent when

“there is no possibility that the plaintiff can prove a cause of action against” that

defendant. Triggs v. John Crump Toyota, Inc., 154 F.3d 1284, 1287 (11th Cir.

1998).



                                            6
        Case 3:22-cv-00026-TCB Document 1 Filed 02/14/22 Page 7 of 15




      14.    Plaintiff’s Amended Complaint lacks any allegation of wrongdoing by

the individual defendants. Indeed, the only mention of these individuals is in the

introductory paragraph, where Plaintiff purports to add the individuals “as named

party Defendants.” There are no allegations to show who these individuals are,

what they did, or how they relate to the disputes at issue in this litigation. (See

generally Am. Compl.) Without alleging these basic facts, Plaintiff cannot possibly

prove a cause of action against the individual defendants, and his attempt to join

them to the State Court Action was merely an effort to defeat diversity jurisdiction.

      15.    Courts in this district have found fraudulent joinder under these exact

circumstances.   For example, in Baker v. Select Portfolio Servicing, Inc., the

plaintiff did not allege “any specific factual basis for the claims against the

defendants and [did] not mention the defendants individually in the complaint.”

Baker v. Select Portfolio Servicing, Inc., No. 1:12-CV-03493-JEC, 2013 WL

4806907, at *6 (N.D. Ga. Sept. 9, 2013). The court rejected the “possibility that

the plaintiff could maintain a cause of action against defendants who are not even

mentioned in the body of the Complaint” and found that the defendants were

fraudulently joined. Id. Similarly, in Lewis v. PNC Bank, N.A., the court found

fraudulent joinder where the plaintiff failed to “allege how [the defendant]

specifically committed any wrongdoing against him.” No. 2:13-CV-69-RWS, 2013



                                          7
        Case 3:22-cv-00026-TCB Document 1 Filed 02/14/22 Page 8 of 15




WL 6817090, at *2 (N.D. Ga. Dec. 26, 2013). Courts in other districts have

reached the same conclusion. See Galler v. 21st Mortg. Corp., No. 3:14CV174-

MCR/EMT, 2014 WL 12701066, at *2 (N.D. Fla. Sept. 3, 2014) (finding

fraudulent joinder where the complaint “include[d] no allegations of fact at all

regarding” the non-diverse defendant); City of Brownsville v. Sw. Bell Tel. Co., No.

CIV. A. B-90-200, 1991 WL 107403, at *3 (S.D. Tex. June 6, 1991) (finding

fraudulent joinder where “[o]nly two paragraphs of the complaint even mention”

the non-diverse defendant and there is “no allegation of wrongdoing by” him).

   D. The Citizenship of the Fictitious John Doe Defendants Is Irrelevant

      16.    Under 28 U.S.C. Section 1441(b), “the citizenship of defendants sued

under fictitious names shall be disregarded” for purposes of determining whether a

civil action is removable on the basis of diversity jurisdiction. Thus, the existence

of the fictitious John Doe defendants does not deprive this Court of jurisdiction.

      17.    Disregarding the citizenship of the John Does and the individual

defendants, there is complete diversity between Plaintiff, a Georgia citizen, and

Costco, a Washington citizen.

   E. Amount in Controversy

      18.    The United States Supreme Court has explained that “when a

defendant seeks federal-court adjudication, the defendant’s amount-in-controversy



                                          8
          Case 3:22-cv-00026-TCB Document 1 Filed 02/14/22 Page 9 of 15




allegation should be accepted when not contested by the plaintiff or questioned by

the court.” Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 87

(2014).      If “a defendant’s assertion of the amount in controversy is

challenged[,] . . . both sides submit proof and the court decides, by a

preponderance of the evidence, whether the amount-in-controversy requirement

has been satisfied.” Id. (citing 28 U.S.C. § 1446(c)(2)).

      19.     While Costco denies any liability as to Plaintiff's claims, the amount

in controversy requirement is satisfied because it is “more likely than not” that the

amount exceeds the jurisdictional minimum of $75,000. See Roe v. Michelin N.

Am., Inc., 613 F.3d 1058, 1061 (11th Cir. 2010) (applying preponderance of the

evidence standard).

      20.     Importantly, Costco “is not required to prove the amount in

controversy beyond all doubt or to banish all uncertainty about it.” Pretka v.

Kolter City Plaza II, Inc., 608 F.3d 744, 754 (11th Cir. 2010). Indeed, “Eleventh

Circuit precedent permits district courts to make ‘reasonable deductions,

reasonable inferences, or other reasonable extrapolations’ from the pleadings to

determine whether it is facially apparent that a case is removable.” Roe, 613 F.3d

at 1062 (quoting Pretka, 608 F.3d at 754.)




                                          9
       Case 3:22-cv-00026-TCB Document 1 Filed 02/14/22 Page 10 of 15




      21.    Here, Plaintiff alleges that he developed an “automated meat ordering

system[]” before he was a Costco employee, and that Costco implemented his

system in November 2019. (Am. Compl. ¶¶ 6, 11, 17.) According to Plaintiff,

Costco represented that he would receive “monetary compensation and rewards

related to the performance of” that system. (Id. ¶ 14 .) Plaintiff claims that, at the

time Costco implemented his system, it was experiencing “approximately

$230,000” in ongoing inventory losses. (Id. ¶ 18.) Plaintiff claims that these

losses were converted to profits as a direct result of his system, and that Costco

“derived further substantial inventory profits” by using Plaintiff’s system in other

locations. (Id. ¶¶ 19-20.)

      22.    To determine the amount in controversy, the Court should consider

“the[se] allegations in light of the particular causes of action chosen by the

plaintiff.” Roe, 613 F.3d at 1065. For example, Plaintiff asserts a quantum meruit

claim, and the measurement of damages for such a claim “is based upon the benefit

conferred upon the recipient.” Hollifield v. Monte Vista Biblical Gardens, Inc.,

251 Ga. App. 124, 131 (2001). Plaintiff alleges that Costco obtained substantial

benefits “[a]s a direct result” of his system. (Am. Compl. ¶ 19.) Specifically,

Plaintiff claims that his system allowed Costco to convert roughly $230,000 in




                                         10
        Case 3:22-cv-00026-TCB Document 1 Filed 02/14/22 Page 11 of 15




inventory losses to “substantial inventory profits.” (Am. Compl. ¶¶ 18-20.) Thus,

Plaintiff has placed at least that amount at issue in this litigation.

      23.    Plaintiff also alleges a cause of action for punitive damages, which

“must be considered” when determining the jurisdictional amount in controversy in

diversity cases. Holley Equipment Co. v. Credit Alliance Corp., 821 F.2d 1531,

1535 (11th Cir. 1987).       The Court may also consider Plaintiff’s demand for

attorney’s fees under O.C.G.A. § 13-6-11. Circle Y Constr., Inc. v. WRH Realty

Servs., Inc., No. 1:08-CV-1010-TCB, 2008 WL 11334194, at *1 (N.D. Ga. Nov.

13, 2008). Although Costco denies that Plaintiff is entitled to these or any other

damages, “[t]he amount in controversy is not proof of the amount the plaintiff will

recover.” Pretka, 608 F.3d at 751 (quoting McPhail v. Deere & Co., 529 F.3d 947,

956 (10th Cir. 2008)). Instead, Plaintiff’s allegations and theories of recovery

provide “an estimate of the amount that will be put at issue in the course of the

litigation.” Id. Given Plaintiff’s allegations, claims, and request for punitive

damages and attorney’s fees, that amount will exceed $75,000.

      24.    Because this action is between citizens of different states and the

amount in controversy exceeds the sum or value of $75,000, exclusive of interest

and costs, this Court has original jurisdiction over this action pursuant to 28 U.S.C.




                                           11
        Case 3:22-cv-00026-TCB Document 1 Filed 02/14/22 Page 12 of 15




§ 1332(a). Accordingly, this action is removable to this Court pursuant to 28

U.S.C. § 1441(b).

                                       CONSENT

      25.    No consent is necessary from the fictitious John Doe defendants

because those defendants have not been served. 28 U.S.C. § 1446(b)(2)(A). No

consent is necessary from the individuals named as defendants in Plaintiff’s

Amended Complaint because those defendants were improperly joined and have

not been served. See id.

                                       VENUE

      26.    Removal is appropriate “to the district court of the United States for

the district and division embracing the place where such action is pending.”

28 U.S.C. § 1441(a). Pursuant to 28 U.S.C. § 90(a)(4), this Court embraces the

Superior Court of Coweta County, State of Georgia. Accordingly, this Court is the

appropriate venue for removal of this action. 28 U.S.C. § 1441(a).

        NOTICE TO PLAINTIFF AND CLERK OF STATE COURT

      27.    Prompt written notice of this Notice of Removal is being sent to

Plaintiff through his counsel, and to the Clerk of Court for the Superior Court of

Coweta County, State of Georgia, as required by 28 U.S.C. § 1446(d). A copy of

the notice is attached as Exhibit C.



                                         12
        Case 3:22-cv-00026-TCB Document 1 Filed 02/14/22 Page 13 of 15




      28.    Based on the foregoing, this Court has original jurisdiction over this

action pursuant to 28 U.S.C. § 1332; therefore, the Court may exercise jurisdiction

over this lawsuit. 28 U.S.C. § 1441(a).

      29.    The undersigned has read this Notice of Removal, and, to the best of

the undersigned’s knowledge, information, and belief, formed after reasonable

inquiry, certifies that Costco’s factual allegations have evidentiary support, and its

legal contentions are warranted by existing law. The undersigned also certifies that

this Notice of Removal is not interposed for any improper purpose, such as to

harass, to cause unnecessary delay, or to needlessly increase the cost of litigation.

      WHEREFORE, Costco prays that this civil action be removed from the

Superior Court of Coweta County, State of Georgia, to the United States District

Court for the Northern District of Georgia.




              [Signature of Counsel Appears on the Following Page]




                                          13
       Case 3:22-cv-00026-TCB Document 1 Filed 02/14/22 Page 14 of 15




                                         Respectfully submitted,

                                         COSTCO WHOLESALE
                                         CORPORATION

                                    By: /s/ Lauren M. Gregory
                                       John T. Murray
                                       Georgia Bar No. 531998
                                       jmurray@seyfarth.com
                                       Lauren M. Gregory
                                       Georgia Bar No. 729061
                                       lgregory@seyfarth.com
                                       SEYFARTH SHAW LLP
                                       1075 Peachtree Street, N.E.
                                       Suite 2500
                                       Atlanta, Georgia 30309-3958
                                       Telephone: (404) 885-1500
                                       Facsimile: (404) 892-7056

                                         Counsel for Defendant Costco
                                         Wholesale Corporation

Date: February 14, 2022




                                    14
        Case 3:22-cv-00026-TCB Document 1 Filed 02/14/22 Page 15 of 15




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

RONALD MCLEOD,                            )
                                          )
      Plaintiff,                          )
                                          )
v.                                        )
                                          )
COSTCO WHOLESALE                          ) Case No. __________
CORPORATION, et al.,                      )
                                          )
      Defendants.                         )
                                          )
                                          )

                          CERTIFICATE OF SERVICE

      I certify that on February 14, 2022, I electronically filed the foregoing

DEFENDANT COSTCO WHOLESALE CORPORATION’S NOTICE OF

REMOVAL with the Clerk of Court using the CM/ECF system and served a copy

of the same upon all parties to this action via U.S. mail as follows:

                                    JJ Poole
                      JJ POOLE ATTORNEY AT LAW, LLC
                          925B Peachtree Street NE #345
                             Atlanta, Georgia 30309



                                                     /s/ Lauren M. Gregory
                                                     Lauren M. Gregory
